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UNITED STA TES DISTRICT COURT

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UNITED STATES OF AMERICA, JUDGMENT IN A CI\>'¥L CASE
Plaintiff,
v.
One 1999 Yamaha Banshee ATV Twin 350, CASE NO: 04-2344-B

VIN JY43GGW05XA175050, with All
Appurtenances and Attachments Thercon,

One 1999 Yamaha Banshee ATV Twin 350,
VlN JY43GG0321C024827, With All
Appurtenances and Attachments Thereon,

Miscellaneous Jewelry,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting
Government’s Motion To Dismiss Complaint filed on June 8, 2005, this cause is hereby
dismissed.

    

 

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ED sTATES DISTRICT CoURT

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Da e Clerk of Court
(By) Deputy Clerk r2
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:04-CV-02344 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

